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                   Exhibit 8
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                                                                                  Charles L. Babcock
                                                                                  (214) 953-6030 (Direct Dial)
                                                                                  (713) 752-4560 (Direct Fax)
                                                                                  cbabcock@jw.com




                                                March 10, 2022

    Via Federal Express and Email

    Shy David Anderson
    c/o Lisa Duffee
    4311 Oak Lawn Ave
    Dallas, TX 75219
    lisa@d-elaw.com


             Re:       Document Preservation Notice

    Dear Mr. Anderson (through your attorney Ms. Lisa Duffee),

            As you know, I represent your father-in-law Jerral W. Jones, Sr. He has asked my firm to
    investigate whether he has potential claims against you and others for conversion (extortion) and
    other torts and to determine whether a conspiracy exists among yourself and others including,
    without limitation, certain of your lawyers. In that regard we believe that certain exceptions to the
    attorney client, common interest and attorney work product privileges may apply so please do not
    destroy any communications in any form with your counsel or others under the assumption that
    such privileges apply.

            As of this date you and your counsel can reasonably anticipate litigation even though our
    investigation is not yet complete. Therefore we demand that you preserve all communications in
    any form regarding the matters outlined below (“Preservation Topics”) and that you immediately
    image your personal devices such as cell phones, tablets, computers or other electronic devices of
    any kind in order to preserve material to date. We also demand that you not delete any information
    in the future until this matter is resolved and this includes any form of communication through the
    electronic devices outlined above.

           The law imposes on you a duty to preserve materials that are potentially relevant to the
    Preservation Topics. You and all other individuals working for, on behalf of, or associated with
    you, are hereby instructed to not destroy any data or documents related in any way to the above
    matters. This includes, without limitation, all letters, correspondence, emails, text messages, phone
    records and messages, notes, or any other communications. And merely relying on whatever
    preservation steps (if any) you have taken during existing proceedings would not satisfy the
    preservation duty you have related to the issues set out in this notice. A non-exhaustive list of
    reasonable steps would include at a minimum: immediately issuing a hold notice to relevant
    custodians; following up with them to ensure they have complied with the notice; engaging with
    information technology personnel to determine where relevant information is stored; and working




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with human resources and computer forensics professionals to ensure that information maintained
by any affiliated persons or entities is properly preserved. The scope of your preservation
obligations continues until resolution of the controversy, and you should monitor ongoing
compliance with your preservation obligation.

       Preservations Topics are as follows:

       1) All efforts to obtain monies from Mr. Jones directly or indirectly through the divorce
          proceedings with his daughter and your wife Charlotte;

       2) All efforts to obtain monies from Mr. Jones directly or indirectly;

       3) All efforts to obtain information you and/or your counsel consider embarrassing to Mr.
          Jones;

       4) The circumstances under which you or your counsel obtained the confidential
          document introduced at his deposition as Exhibit JWJ 319;

       5) All communications with Andrew Bergman concerning my client and/or any member
          of Mr. Jones’ family;

       6) All communications with or about Cynthia Davis-Spencer who at one time may have
          been known as Cynthia or Cindy Davis;

       7) All communications with any person about Mr. Jones during the pendency of your
          divorce proceedings including, without limitation, communications with Carrie Keep;

       8) All communications with Alexandra Davis or her current or former employer;

       9) All communications with any person regarding an incident with certain Dallas
          Cowboys cheerleaders which was the subject of an article by ESPN; and

       10) All communications with or regarding Vincent Thompson or his representatives.

       Thank you for your attention to this matter.



                                                      Very truly yours,


                                                      Charles L. Babcock



CLB: smz



                                                                                                   App. 064
